                      IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF KANSAS
                                KANSAS CITY DIVISION

IN RE:                               )
                                     )
GREEN ENERGY PRODUCTS, LLC           )               Case No. 16-21278-11
                                     )
               Debtor-in-Possession. )


                            NOTE TO ACCOMPANY SCHEDULES

         The attached remaining schedules and related documents are based on information

currently available to the Debtor and counsel. There is additional information that is located on a

computer server that is currently under the control of the chapter 7 trustee of the WB Services,

LLC bankruptcy case, case no. 16-10759 in the U.S. Bankruptcy Court for the District of Kansas.

As of the filing of the attached remaining schedules and related documents, Debtor does not have

access to the information on the WB Services, LLC server. To the extent the Debtor is provided

access to said server, Debtor will file supplemental and/or amended schedules and related

documents.



                                                     Respectfully Submitted,


                                                     LENTZ CLARK DEINES PA

                                                     s/ Jeffrey A. Deines
                                                     Jeffrey A. Deines, KS # 20249
                                                     Shane J. McCall, KS #24564
                                                     9260 Glenwood
                                                     Overland Park, KS 66212
                                                     (913) 648-0600
                                                     (913) 648-0664 Fax
                                                     jdeines@lcdlaw.com
                                                     smccall@lcdlaw.com
                                                     Attorneys for Debtor in Possession




                 Case 16-21278      Doc# 34      Filed 08/09/16     Page 1 of 42
 Fill in this information to identify the case:

 Debtor name          Green Energy Products, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)         16-21278
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                     Central National Bank
                     Balance as of 5/31/2016
            3.1.     -13,610.75                                             Checking Account                 6059                                           $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                             $0.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit

 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Prepaid Expenses                                                                                                             $220,942.10




 9.         Total of Part 2.                                                                                                                  $220,942.10
            Add lines 7 through 8. Copy the total to line 81.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor         Green Energy Products, LLC                                                        Case number (If known) 16-21278
                Name



 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes Fill in the information below.
 11.       Accounts receivable
           11a. 90 days old or less:                            316,439.30   -                                   0.00 = ....                 $316,439.30
                                              face amount                           doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                              $316,439.30
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last           Net book value of         Valuation method used    Current value of
                                                      physical inventory         debtor's interest         for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress
           Work In Progress                                                                     $0.00                                        $858,153.70



 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Inventory - Additives
           value as of 4/1/2016                                                                 $0.00                                         $86,115.83


           Inventory - Feedstock
           value as of 4/1/2016                                                                 $0.00                                         $10,714.86


           Inventory - Products/By
           Products
           value as of 4/1/2016                                                                 $0.00                                        $139,609.18


           Inventory - RIN'S
           value as of 4/1/2016                                                                 $0.00                                        $355,567.37




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
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 Debtor         Green Energy Products, LLC                                                       Case number (If known) 16-21278
                Name


 23.       Total of Part 5.                                                                                                           $1,450,160.94
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                   Net book value of       Valuation method used     Current value of
                                                                                 debtor's interest       for current value         debtor's interest
                                                                                 (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Software                                                                            $0.00                                        $287,050.00


           Computer Equipment                                                                  $0.00                                           $9,874.57



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                $296,924.57
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 3
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                Name



     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used       Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value           debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Machinery & Equipment                                                            $0.00                                      $18,303,977.93


           Lab Assets                                                                       $0.00                                         $566,290.25



 51.       Total of Part 8.                                                                                                        $18,870,268.18
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used      Current value of
           property                                       extent of           debtor's interest      for current value          debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
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                Name

           55.1.     The East 640.00 feet                                                   $0.00                                         $0.00
                     of the West 1328.00
                     feet of the North
                     418.00 feet of the
                     South Half of the
                     Northwest Quarter of
                     Section 3, Township
                     25 South, Range 1
                     West of the 6th
                     Principal Meridian,
                     Sedgwick County,
                     Kansas EXCEPT that
                     portion described as
                     follows:
                     Commencing at the
                     Northwest Corner of
                     said Northwest
                     Quarter; thence
                     South 00 59'22" East
                     (base of bearing is
                     NAD83 Grid Kansas
                     South Zone) along
                     the West line of said
                     Northwest Quarter
                     1333.70 feet to the
                     Northwest corner of
                     the South Half of said
                     Northwest Quater;
                     thence North 89
                     08'28" East along the
                     North line of the
                     South Half of said
                     Northwest Quarter
                     1087.79 feet for the
                     point of beginning;
                     thence continuing
                     North 89 08' 28" East
                     along the North line
                     of the South Half of
                     said Northwest
                     Quarter 240.00 feet to
                     the Northwest Corner
                     of Lot 6, Block 1,
                     Sedgwick Industrial
                     Park to Sedgwick,
                     Sedgwick County,
                     Kansas; thence
                     South 01 003'34"
                     East along the West
                     line of said Lot 6 a
                     distance of 418.03
                     feet (418.0 feet
                     record) to the
                     Southwest Corner of
                     said Lot 6; thence
                     South 89 08'54" West
                     along the North
                     right-of-way line of
                     East Industrial Drive
                     as platted in said
                     Sedgwick Industrial
                     Park 240.00 feet;
                     thence North 01
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 5
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                     00'34" West parrallel
                     with the West line of
                     said Lot 6 a distance
                     of 418.00 feet to the
                     Point of Beginning.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 6
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 Debtor         Green Energy Products, LLC                                                   Case number (If known) 16-21278
                Name

           55.2.     A portion of the                                                       $0.00                                         $0.00
                     South Half of the
                     Northwest Quarter of
                     Section 3, Township
                     25 South, Range 1
                     West of the 6th
                     Principal Meridian,
                     Sedgwick County,
                     Kansas described as
                     follows:
                     Commencing at the
                     Northwest Corner of
                     said Northwest
                     Quarter; thence
                     South 00 59'22" East
                     (base of bearing is
                     NAD83 Grid Kansas
                     South Zone) along
                     the West line of said
                     Northwest Quarter
                     1333.70 feet to the
                     Northwest corner of
                     the South Half of said
                     Northwest Quater;
                     thence North 89
                     08'28" East along the
                     North line of the
                     South Half of said
                     Northwest Quarter
                     1087.79 feet for the
                     point of beginning;
                     thence continuing
                     North 89 08' 28" East
                     along the North line
                     of the South Half of
                     said Northwest
                     Quarter 240.00 feet to
                     the Northwest Corner
                     of Lot 6, Block 1,
                     Sedgwick Industrial
                     Park to Sedgwick,
                     Sedgwick County,
                     Kansas; thence
                     South 01 003'34"
                     East along the West
                     line of said Lot 6 a
                     distance of 418.03
                     feet (418.0 feet
                     record) to the
                     Southwest Corner of
                     said Lot 6; thence
                     South 89 08'54" West
                     along the North
                     right-of-way line of
                     East Industrial Drive
                     as platted in said
                     Sedgwick Industrial
                     Park 240.00 feet;
                     thence North 01
                     00'34" West parrallel
                     with the West line of
                     said Lot 6 a distance
                     of 418.00 feet to the
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 7
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                Name

                     Point of Beginning.


            55.3.    The West 110.00 feet
                     of Lot 6, Block 1,
                     Sedgwick Industrial
                     Park to Sedgwick,
                     Sedgwick County,
                     Kansas.                                                                $0.00                                                $0.00


            55.4.
                     Buildings                                                              $0.00                                     $2,724,071.58


            55.5.
                     Land                                                                   $0.00                                        $96,112.90




 56.        Total of Part 9.                                                                                                       $2,820,184.48
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 8
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                Name

           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Research & Development                                                                                                $533,248.60




 78.       Total of Part 11.                                                                                                   $533,248.60
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 9
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                     Current value of real
                                                                                                     personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $220,942.10

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $316,439.30

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $1,450,160.94

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $296,924.57

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                $18,870,268.18

 88. Real property. Copy line 56, Part 9.........................................................................................>                       $2,820,184.48

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $533,248.60

 91. Total. Add lines 80 through 90 for each column                                                       $21,687,983.69              + 91b.            $2,820,184.48


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $24,508,168.17




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 10
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                                         Case 16-21278                       Doc# 34                 Filed 08/09/16                  Page 11 of 42
 Fill in this information to identify the case:

 Debtor name          Green Energy Products, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)              16-21278
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                 Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
 2.1    B.E.L.T. Inc                                  Describe debtor's property that is subject to a lien                      Unknown                         $0.00
        Creditor's Name                               All Various Industrial Plan Equipment and
                                                      Vehicles described of Lease #B-07112; 17505
        PO Box 12526
        Wichita, KS 67227
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Central National Bank                         Describe debtor's property that is subject to a lien              $14,040,760.88                          $0.00
        Creditor's Name                               All machinery, equipment, Taxable Industrial
                                                      Revenue Bonds
        802 N. Washington
        Junction City, KS 66441
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 4
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 Debtor       Green Energy Products, LLC                                                               Case number (if know)      16-21278
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3   City of Sedgwick                               Describe debtor's property that is subject to a lien                       Unknown           $0.00
       Creditor's Name
       511 N. Commercial
       PO Box 131
       Sedgwick, KS 67135
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4   Cornerbank , N.A.                              Describe debtor's property that is subject to a lien                       Unknown           $0.00
       Creditor's Name                                Hydrogen Generation System and componet
                                                      parts. Assigned Lease from B.E.L.T.
       12828 E. 13th St N. Ste 1
       Wichita, KS 67230-1459
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5   PHAE Promissory Note                           Describe debtor's property that is subject to a lien                     $875,709.59         $0.00
       Creditor's Name




       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 4
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 Debtor       Green Energy Products, LLC                                                               Case number (if know)       16-21278
              Name

                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.6    Sedgwick Ventures                             Describe debtor's property that is subject to a lien                           $0.00    $295,900.50
        Creditor's Name




        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.7    WB Promissory Note                            Describe debtor's property that is subject to a lien                 $2,754,408.37             $0.00
        Creditor's Name




        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known               Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                               $17,670,878.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        84

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 3 of 4
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 Debtor       Green Energy Products, LLC                                                         Case number (if know)         16-21278
              Name

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity
        Richard K. Thompson
        Martin, Pringle, Oliver                                                                           Line    2.4
        Wallace & Bauer, L.L.P.
        100 North Broadway, Suite 500
        Wichita, KS 67202

        Thomas J. Lasater
        Fleeson, Gooing, Coulson &                                                                        Line    2.2
        Kitch, L.L.C.
        PO Box 997
        Wichita, KS 67201




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 4 of 4
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                                      Case 16-21278                  Doc# 34      Filed 08/09/16                 Page 15 of 42
 Fill in this information to identify the case:

 Debtor name         Green Energy Products, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)          16-21278
                                                                                                                                              Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                      Total claim          Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                           $2,315.33        $2,315.33
           Internal Revenue Service                                  Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                            $250.59         $250.59
           Kansa Depart of Revenue                                   Check all that apply.
           915 SW Harrison St.                                        Contingent
           Topeka, KS 66612-1588                                      Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 14
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 Debtor       Green Energy Products, LLC                                                              Case number (if known)            16-21278
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,649.47
          Air Capital Equipment, Inc                                          Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,148.94
          Allen, Gibbs & Houlik LC                                            Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,542.60
          Alltite                                                             Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $340.43
          Andale Farmers CO-OP                                                Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $748,592.45
          Arkalon Ethanol, LLC                                                Contingent
          8664 Road P.                                                        Unliquidated
          Liberal, KS 67901                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    16-CV-1287
          Last 4 digits of account number       E001
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,254.67
          Atmos Energy Marketing LLC                                          Contingent
          5420 Lyndon B. Johnson Fwy                                          Unliquidated
          Dallas, TX 75240                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,946.60
          Barton Solvents Inc                                                 Contingent
          901 S. 66th Terrace                                                 Unliquidated
          Kansas City, KS 66111                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,005.00
          Berkley Assigned Risk Services                                      Contingent
          222 So. Ninth St., Ste 2700                                         Unliquidated
          Minneapolis, MN 55402-3332                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $68.67
          Brandon Maloy                                                       Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,567.00
          Brenntag Southwest Inc                                              Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43.01
          Brian Skillman                                                      Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,971.69
          C & B Equipment                                                     Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $176,152.16
          Cecil L. O'Brate                                                    Contingent
          1604 Campus Dr.                                                     Unliquidated
          Garden City, KS 67846                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    16-CV-1005
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $347.69
          Charles Goodrich                                                    Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes




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              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,507.88
          Chem-Aqua, Inc.                                                     Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,177.70
          Cintas Corporation                                                  Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,068.43
          Conestoga Logistics, LLC                                            Contingent
          1701 N. Kansas Ave.                                                 Unliquidated
          Liberal, KS 67901                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $427.00
          Corporation Service Company                                         Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $677.37
          Dale Hammerschmidt                                                  Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47.50
          Dan Rueger                                                          Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $56,239.68
          Deacom, Inc.                                                        Contingent
          601 Lee Road                                                        Unliquidated
          Wayne, PA 19087                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Green Energy Products, LLC                                                              Case number (if known)            16-21278
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,204.16
          DeRossett Company                                                   Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $148,000.00
          Dore Electric. Inc.                                                 Contingent
          3636 N. Topeka                                                      Unliquidated
          Wichita, KS 67219                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Artisan's or Repairman's Lien Statement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $297,182.50
          East Kansas Agri-Energy LLC                                         Contingent
          1304 S. Main Street                                                 Unliquidated
          Garnett, KS 66032                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,450.75
          Eco-Engineers LLC                                                   Contingent
          11815 Hwy Dr., #600                                                 Unliquidated
          Cincinnati, OH 45241                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $568.41
          Enegren Computer Service                                            Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,338.75
          ERI Solutions Inc.                                                  Contingent
          125 N. First St., Ste 5                                             Unliquidated
          Colwich, KS 67030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,600.00
          Eurofins QTA, Inc                                                   Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $80,021.11
          F & H Insulation, Inc.                                              Contingent
          5003 East 61st St. N.                                               Unliquidated
          Kechi, KS 67067                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $845.00
          Fabsco Fin-Air, LLC                                                 Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,180.00
          Farmers Oil Company, Inc                                            Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $41.00
          FedEx Freight                                                       Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $86.00
          Ferrellgas                                                          Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $410.45
          First Insurance Funding Corp                                        Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $734.68
          Fisher Scientific Company                                           Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes




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              Name

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,283.20
          Hajoca Corporation                                                  Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $109.76
          Hampel Oil                                                          Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,847.18
          Harcros Chemical, Inc.                                              Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $708.28
          Hazmatpac, Inc                                                      Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,141.00
          Industrial Commercial                                               Contingent
          Insulation, Inc.                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,518.10
          Intertek USA Inc                                                    Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,375.00
          Iowa Central Fuel Testing Lab                                       Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Green Energy Products, LLC                                                              Case number (if known)            16-21278
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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $660.00
          JCI Industries                                                      Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,859.02
          Kansas Gas Service                                                  Contingent
          11401 W. 89th Street                                                Unliquidated
          Overland Park, KS 66210                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $185.90
          Kanza Co-Operative Association                                      Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60.00
          KDHE - Bureau of Water                                              Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,954.00
          Kice Industries, Inc                                                Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,980.91
          Lewis-Goetz                                                         Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,975.00
          M & L CPA's                                                         Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Green Energy Products, LLC                                                              Case number (if known)            16-21278
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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,988.75
          Maclasky Oilfield Services, In                                      Contingent
          105 N. Industrial Rd.                                               Unliquidated
          PO Box 222                                                          Disputed
          El Dorado, KS 67042
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,560.00
          Medical Associates, PLC                                             Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $663.95
          Midwest Laboratories, Inc                                           Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,980.38
          Mike Morris                                                         Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $892.78
          Murdock Companies                                                   Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $648.21
          National Biodiesel Board                                            Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,845.92
          Novozymes, NA, Inc.                                                 Contingent
          77 Perry Chapel Church Rd.                                          Unliquidated
          Franklinton, NC 27525                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,600.00
          OSR Services LP                                                     Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,304.00
          PAC, LP                                                             Contingent
          8824 Fallbrook Drive                                                Unliquidated
          Houston, TX 77064                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $842.48
          PCI Mechancial                                                      Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $101,817.80
          Plant Maintenance Services LLC                                      Contingent
          2 Ultraway Drive                                                    Unliquidated
          Highland, IL 62249                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $101,180.20
          Praxair, Inc.                                                       Contingent
          39 Old Ridgebury Road                                               Unliquidated
          Danbury, CT 06810-5113                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $107.35
          Precision Administrators Inc                                        Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $611.07
          Reddi Industries                                                    Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes




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 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,037.91
          Safety-Kleen Systems Inc                                            Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $81.82
          Scott Trego                                                         Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $775.00
          SDK Laboratories                                                    Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $62.85
          Shannon Hallowell                                                   Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,304.99
          Shimadzu Scientific Instrument                                      Contingent
          8052 Reeder Street                                                  Unliquidated
          Overland Park, KS 66214                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $289.65
          Sigma-Alrich, Inc                                                   Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,300.00
          Simmons Transport                                                   Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes




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 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $425.00
          Southards Welding & Manfg.                                          Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $171.89
          Superior Service Company                                            Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,084.50
          TG Technical Services                                               Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26.41
          Tory Cooley                                                         Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $544.00
          Tri-Dim Filter Corporation                                          Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,499.58
          Trindle Construction Inc                                            Contingent
          Road #1, PO Box 396                                                 Unliquidated
          Carlisle, PA 17013                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $584.00
          Triplett, Woolf, & Garretson                                        Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes




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 3.78      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,840.87
           Uline                                                              Contingent
                                                                              Unliquidated
           Date(s) debt was incurred                                          Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.79      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $11,786.13
           United Rentals, Inc.                                               Contingent
                                                                              Unliquidated
           Date(s) debt was incurred                                          Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.80      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $447.00
           VHG Labs Inc                                                       Contingent
                                                                              Unliquidated
           Date(s) debt was incurred                                          Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.81      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $168.53
           Waste Connections                                                  Contingent
                                                                              Unliquidated
           Date(s) debt was incurred                                          Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.82      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        $1,640,451.00
           WB Services LLC                                                    Contingent
                                                                              Unliquidated
           Date(s) debt was incurred                                          Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.83      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $14,939.53
           Westar                                                             Contingent
           PO Box 758500                                                      Unliquidated
           Topeka, KS 66675                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,464.52
           Wichita Burner, Inc.                                               Contingent
                                                                              Unliquidated
           Date(s) debt was incurred                                          Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 13 of 14
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           Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                 related creditor (if any) listed?               account number, if
                                                                                                                                                 any
 4.1       Christoper A. McElgunn
           Klenda Austerman, LLC                                                                 Line      3.5
           1600 Epic Center
           301 North Main                                                                              Not listed. Explain

           Wichita, KS 67202-4816

 4.2       Christopher A. McElgunn
           Klenda Austerman LLC                                                                  Line      3.13
           301 N Main, Ste 1600
           Wichita, KS 67202-4816                                                                      Not listed. Explain



 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.          $                       2,565.92
 5b. Total claims from Part 2                                                                        5b.    +     $                   3,730,424.17

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.          $                     3,732,990.09




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 14 of 14
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 Fill in this information to identify the case:

 Debtor name         Green Energy Products, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)         16-21278
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.         State what the contract or                  B-071513 dated
              lease is for and the nature of              7/1/2013 - Lease
              the debtor's interest                       agreement of Hydrogen
                                                          Generation System and
                                                          componets
                  State the term remaining
                                                                                        B.E.L.T. Inc
              List the contract number of any                                           PO Box 12526
                    government contract                                                 Wichita, KS 67227


 2.2.         State what the contract or                  200 & 250 E. Industrial
              lease is for and the nature of              Dr., Sedgwick, Kansas
              the debtor's interest                       67135

                  State the term remaining                                              City of Sedgwick, Kansas
                                                                                        511 N. Commercial
              List the contract number of any                                           PO Box 131
                    government contract                                                 Sedgwick, KS 67135




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Green Energy Products, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)         16-21278
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                     Name                         Check all schedules
                                                                                                                                that apply:

    2.1      Bernard Douglas                                                                       Central National             D       2.2
             Hoffman, Jr                                                                           Bank                          E/F
                                                                                                                                G



    2.2      City of Sedgwick                  511 N. Commercial                                   Central National             D       2.2
                                               PO Box 131                                          Bank                          E/F
                                               Sedgwick, KS 67135
                                                                                                                                G




    2.3      Eric J. Vogel                                                                         Central National             D       2.2
                                                                                                   Bank                          E/F
                                                                                                                                G



    2.4      Richard Belt                                                                          Central National             D       2.2
                                                                                                   Bank                          E/F
                                                                                                                                G



    2.5      Ronald J.                                                                             Central National             D       2.2
             Beemiller, II                                                                         Bank                          E/F
                                                                                                                                G



Official Form 206H                                                             Schedule H: Your Codebtors                                    Page 1 of 2
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      WB Holding LLC                                                                        Central National               D       2.2
                                                                                                   Bank                            E/F
                                                                                                                                  G



    2.7      WB Services,                                                                          Central National               D       2.2
             LLC                                                                                   Bank                            E/F
                                                                                                                                  G




Official Form 206H                                                             Schedule H: Your Codebtors                                     Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name            Green Energy Products, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF KANSAS

 Case number (if known)               16-21278
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $        2,820,184.48

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $      21,687,983.69

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $      24,508,168.17


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      17,670,878.84


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $               2,565.92

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        3,730,424.17


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        21,403,868.93




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy
                                              Case 16-21278                            Doc# 34                  Filed 08/09/16                         Page 33 of 42
 Fill in this information to identify the case:

 Debtor name         Green Energy Products, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)         16-21278
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        X
                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
        
        X         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        
        X         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        
        X         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        
        X         Schedule H: Codebtors (Official Form 206H)
        
        X         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        
        X         Other document that requires a declaration    Statement of Financial Affairs

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          August 9, 2016                          X /s/ Richard Belt
                                                                       Signature of individual signing on behalf of debtor

                                                                       Richard Belt
                                                                       Printed name

                                                                       Shareholder
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                      Case 16-21278                    Doc# 34          Filed 08/09/16            Page 34 of 42
 Fill in this information to identify the case:

 Debtor name         Green Energy Products, LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)         16-21278
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For year before that:                                                                    Operating a business                                $595,809.00
       From 1/01/2014 to 12/31/2014
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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 Debtor       Green Energy Products, LLC                                                                Case number (if known) 16-21278



    List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
    a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                              Describe of the Property                                       Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Central National Bank                            Foreclosure                District Court, Sedgwick                      Pending
               vs                                                                          County, Kansas                              On appeal
               Green Energy Products, LLC;                                                 Civil Department
                                                                                                                                       Concluded
               City of Sedgwick, Kansas;
               WB Holdings, LLC;
               Ronald J. Beemiller II;
               Richard W. Belt;
               Bernard Douglas Hoffman Jr.;
               Eric J. Vogel;
               Legacy Bank;
               United Rentals Inc;
               Maclaskey Oilfield Services,
               Inc;
               Cecil L. O'Brate;
               B.E.L.T. Inc.
               Cornerbank, NA
               16 CV 1177

       7.2.    Cecil O'Brate                                    Civil                      District Court, Sedgwick                      Pending
               vs.                                                                         County, Kansas                              On appeal
               Green Energy Products, LLC;                                                 Civil Department
                                                                                                                                       Concluded
               Sedgwick Ventures, LLC; and
               WB Technologies, LLC
               16 CV 1005

       7.3.    Arkalon Ethanol, LLC                             Civil                      District Court, Sedgwick                      Pending
               vs                                                                          County, Kansas                              On appeal
               Green Energy Products, LLC                                                  Civil Department
                                                                                                                                       Concluded
               16 CV 1287

       7.4.    Cornerbank                                       Civil                      District Court, Sedgwick                      Pending
               vs                                                                          County Kansas                               On appeal
               Green Energy Products, LLC                                                  Civil Department
                                                                                                                                       Concluded
               Ronald Beemiller; Eric Vogel;
               Benard Hoffman and
               Richard Belt
               16 CV 1287

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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 Debtor        Green Energy Products, LLC                                                                  Case number (if known) 16-21278




8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                  Dates given                    Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss     Value of property
       how the loss occurred                                                                                                                              lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates          Total amount or
                the transfer?                                                                                                                          value
                Address
       11.1.    Lentz Clark Deines PA
                9260 Glenwood
                Overland Park, KS 66212                                                                                        July 2016          $17,000.00

                Email or website address


                Who made the payment, if not debtor?
                transfer from Hinkle Law Firm Trust
                Account


       11.2.
                Hinkle Law Firm                                                                                                May-June
                                                                                                                               2016               $25,000.00

                Email or website address


                Who made the payment, if not debtor?
                RIchard Belt/GEP



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 Debtor      Green Energy Products, LLC                                                                  Case number (if known) 16-21278




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value
       13.1                                                     The East 640.00 feet of the West 1328.00
       .    City of Sedgwick, Kansas                            feet of the North 418.00 feet of teh South
               511 N. Commercial                                Half of the Northwest Quarter of Section
               PO Box 131                                       3, Township 25 South, Range 1 West of
               Sedgwick, KS 67135                               the Sixth Principal                                      7/23/2014                $13,952,910.00

               Relationship to debtor




 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.




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 Debtor      Green Energy Products, LLC                                                                 Case number (if known) 16-21278



17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was           Last balance
                Address                                         account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


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 Debtor      Green Energy Products, LLC                                                                 Case number (if known) 16-21278




           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
           None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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           No
       Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       WB Holdings LLC                                300 East Industrial                                 Member                                71%
                                                      Sedgwick, KS 67135

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Albert & Leona A. Morgan                       Charitable Foundation                               Member                                2.5%
                                                      711 3rd St.
                                                      PO Box 266
                                                      Phillipsburg, KS 67661
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       The Darwin & Lorene Cole                       Foundation Inc                                      Member                                1%
                                                      711 3rd St
                                                      PO Box 266
                                                      Phillipsburg, KS 67661
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       St. & Mable I Nuttycomb                        Charitable Trust                                    Member                                0.5%
                                                      711 3rd St.
                                                      PO Box 266
                                                      Phillipsburg, KS 67661
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Prairie Horizon Agri-Energy                    1664 East 100 Road                                  Member                                25%
                                                      Phillipsburg, KS 67661



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
       Yes. Identify below.
               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.


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 Debtor      Green Energy Products, LLC                                                                 Case number (if known) 16-21278



    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         August 9, 2016

 /s/ Richard Belt                                                       Richard Belt
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Shareholder

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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